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                                                                        Page 1

   1                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
   2
   3
             TROY CLOWDUS,
   4
                      Plaintiff,
   5                                                           CASE NO.
            V.                                                 1:21-CV-23155(MM)
   6
                                                               CIVIL ACTION
   7
            AMERICAN AIRLINES, INC.,
   8
                      Defendant.
   9         ------------------------------/
  10
  11
                 VIDEOTAPED DEPOSITION OF FEDERICO QUINTANA-VALLEJO
  12                       (Conducted Via Videoconference)
  13
  14
                   DATE:              March 22, 2022
  15
  16
  17              TIME:                1:05 p.m. to 3:25 p.m.
  18
  19
                   REPORTED BY:        TRICIA J. MARCH
  20                                   Notary Public
                                       State of Florida
  21
  22
  23
  24
  25             Job No. CS5141192

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                                                                    Page 2

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   2
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           Charlottesville, VA 22902
   5                  Attorney for Plaintiff
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   7       KELLY H. KOLB, ESQUIRE
           Buchanan Ingersoll & Rooney, PC
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           Suite 2250
   9       Fort Lauderdale, FL 33301
                      Attorney for Defendant
  10
  11
           ALSO PRESENT:
  12
           TIMOTHY LENZ, VIDEOGRAPHER
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   1             Q.    How many times did you call them instead of

   2       them calling you?

   3             A.    Three times, may be.

   4             Q.    You -- you called them three times.

   5                   And explain to me the reasons for you reaching

   6       out in those instances .

   7             A.    Confirming the date of my deposition,

   8       returning texts and messages, calling back to missed

   9       phone calls.

  10             Q.    Okay .    And how many times did you -- did y ou

  11       initiate email communications with them?

  12             A.    Never .    Not that I recall .

  13             Q.    Okay .    You -- you've testified that you have

  14       three or four emails with them; is that correct?

  15             A.    Yes .

  16             Q.    Okay.     And we would like to have those,

  17       Mr. Quintana, and we have a legal right to them.

  18                   Will you commit to sending them to me after

  19       the -- this deposition is over today?

  20                   MR . KOLB:    Objection .

  21             A.    I do have to --

  22                   MR. KOLB:     Objection to the threat.

  23             Q.    You -- you -- you do.           I mean, I -- I -- I may

  24       have to issue a subpoena,       just like American Airlines did

  25       for this deposition today .        But if you just send them to

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   1       me, I won't.

   2                A.   Okay .

   3                     MR. KOLB:      Objection.

   4                Q.   Okay?

   5                A.   I understand.

   6                Q.   Okay.     And will you do that, please?

   7                A.   Do I have to answer that?

   8                Q.   Yes .

   9                A.   I don't know if I will.

  10                Q.   Okay.     Now, Mr. Quintana, you -- you said that

  11       I -- I threatened you in my email.                And -- and let's go

  12       to that email and -- well, I'm going to have to find it

  13       here .

  14                     Okay.      I'm going to read this email, and you

  15       tell me if I misrepresent anything --

  16                A.   Okay.

  17                Q.   -- okay, Mr. Quintana?

  18                     All right .      I say,    "Good afternoon,

  19       Mr . Quintana .       Thank you for clarifying that my prior

  20       email address for you is incorrect .               It was the one given

  21       to me by AA.

  22                     "As you know by now,          I am a lawyer for Troy

  23       Clowdus, a fellow passenger on a flight you took last

  24       year to Mexico .        He was kicked off the flight and banned

  25       for life because he accidently bumped the flight

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